   Case:20-02873-EAG13 Doc#:92 Filed:02/14/22 Entered:02/14/22 11:37:22                                                             Desc: Main
                       IN THE UNITED STATES BANKRUPTCY
                                Document    Page 1 of 1 COURT
                                                FOR THE DISTRICT OF PUERTO RICO

IN RE:

LYDIA IDANIS OTERO ENCARNACION                                                               CASE NO. 20-02873-EAG
                                                                                             CHAPTER 13
   DEBTOR(S)
                                                                                                **AMENDED DOCUMENT**

                                                  TRUSTEE'S REPORT ON CONFIRMATION
1. The applicable commitment period (years) is: 3

2. The liquidation value of the estate is :$ 4,116 (PV: $4,774)

3. The general unsecured pool is :$ 0



               AMENDED PLAN DATE: November 16, 2021                                           PLAN BASE: $68,400.00

TRUSTEE'S REPORT ON CONFIRMATION DATED: 2/14/2022
                            FAVORABLE                                                             X UNFAVORABLE
  1. [X] FAILS LIQUIDATION VALUE TEST § 1325(a)(4):

  Plan does not comply with the present value of $5,949 disclosed in part 5.1 of the plan since only distribute
$3,464.61. Trustee hereby notes that the correct present value is $4,774.




  [X] OTHER:

   1) Part 2.4 should include the location of debtor's residence located at Veredas del Mar, Vega Baja,
considering that she has her real property and an interest in an inheritance property. In addition, amount of the
lump sum payment needs to be disclosed at $43,000. 2) Pending motion to allow the filing of late claim to
creditor Condominio Veredas del Mar. As to the last debtor has failed to address Court order at dkt. 77 in which
debtor was required to supplement the Motion to File Claim After Claims Bar Date (docket #66) pursuant to PR
LBR 9013-1(c)(1) with the corresponding objection language and giving notice to all parties in interest. 3) Proof
of claim # 05 filed by debtor's attorney on behalf of Condominio Veredas del Mar includes account statements
detailing pre and post -petition arrears, however, the proof of claim disclose the pre -petition amount. If
debtor's intention is to pay all debt, pre -petition and post arrears, it is important that the claim is reviewed and
this amount is included in the total to be claimed. 4) Secured creditor Federico Robles Collazo filed objection
to confirmation alleging that the proposed plan is insufficiently funded, lack of feasibility since the lump sum
of $43,500 to be paid at month 60 is speculative. 5) Debtor has yet to comply with Court Order of 01 -27-2022
(Dkt. 88).


NOTICE: This report anticipates Trustee’s position as per 11 USC § 1302(b)(2) a copy of which has been served upon counsel for debtor(s). Copies
    are available to parties in interest at the Trustee’s Office.

                                                                                        /s/ Miriam Salwen Acosta
                                                                                        Miriam Salwen Acosta
Atty: JUAN O CALDERON                                                                   USDC # 208910
                                                                                         ALEJANDRO OLIVERAS RIVERA
                                                                                         Chapter 13 Trustee
                                                                                         PO Box 9024062, Old San Juan Station
                                                                                         San Juan PR 00902-4062
                                                                                        CMC - WG
